       Case 4:18-cv-00371-MJF Document 164 Filed 01/25/22 Page 1 of 18




                   UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION

GREGORY B. COOPER,

      Plaintiff,

v.                                                         Case No. 4:18-cv-371-MJF

CHARLES D. MCCOY, et al.,

      Defendants.
                                            /

                             DECISION AND ORDER

      In this civil action pursuant to 42 U.S.C. § 1983, Plaintiff is suing ten

correctional officers. Plaintiff alleges that seven Defendants used excessive force

and three Defendants failed to protect Plaintiff from the excessive use of force—all

in violation of the Eighth Amendment. Defendants have moved for partial summary

judgment. Plaintiff filed a response in opposition, Defendants filed a reply, and

Plaintiff filed a surresponse. For the reason set forth below, Defendants’ motion for

summary judgment is granted as to Count One and with respect to Plaintiff’s official-

capacity claims as to Count Two and Three; but it is denied to the extent Defendants

seek to preclude Plaintiff from recovering compensatory damages. 1



1
 The parties consented to this court exercising jurisdiction in this case. See 28 U.S.C.
§ 636(c); Fed. R. Civ. P. 73.

                                     Page 1 of 18
       Case 4:18-cv-00371-MJF Document 164 Filed 01/25/22 Page 2 of 18




                                I. BACKGROUND

      Plaintiff, a prisoner proceeding pro se, commenced this action pursuant to 42

U.S.C. § 1983. He alleges that ten Defendants violated the Eighth Amendment.

Specifically, in his second amended complaint, Plaintiff alleges the following

claims:

   • Count One: Defendant McCoy struck Plaintiff in the face with a weapon after

      McCoy sexually assaulted Plaintiff.

   • Count Two: Defendants McCoy, Stephens, Williams, Shelton, McDonald,

      White, and Roe beat Plaintiff while he was restrained.

   • Count Three: Defendants Holland, Cooley, and Johnson failed to intervene

      and protect Plaintiff when McCoy, Stephens, Williams, Shelton, McDonald,

      White, and Roe beat Plaintiff.

Doc. 90 at 11-12. For relief, Plaintiff seeks $2,000,000 per Defendant for pain,

suffering, and permanent nerve damage. Id. at 12.

      The information below is drawn from the evidence in the summary judgment

record. When the parties offer conflicting accounts of the events in question, the

undersigned “sets forth the facts, drawn from the evidence presented, in the light

most favorable to the non-moving party.” Greater Birmingham Ministries v. Sec’y

of State for State of Ala., 992 F.3d 1299, 1317 (11th Cir. 2021) (quoting Chavez v.

Mercantil Commercebank, N.A., 701 F.3d 896, 899 (11th Cir. 2012)). Matters stated

                                   Page 2 of 18
       Case 4:18-cv-00371-MJF Document 164 Filed 01/25/22 Page 3 of 18




as “facts” for purposes of summary judgment review may, therefore, not be the

actual facts. See Montoute v. Carr, 114 F.3d 181, 182 (11th Cir. 1997).

A.    Facts Drawn from Plaintiff’s Second Amended Verified Complaint

      On April 13, 2018, the Florida Department of Corrections (“FDC”)

incarcerated Plaintiff at Jefferson Correctional Institution (“Jefferson C.I.”). At

approximately 10:30 a.m., Defendants conducted a search of the delta Dormitory.2

During this search, McCoy determined that Plaintiff was not assigned to the delta

Dormitory.

      After McCoy conducted an initial search of Plaintiff, McCoy took Plaintiff

into the bathroom for a strip search. Plaintiff alleges that Defendant McCoy “made

noises of approval” as Plaintiff lifted his penis and testicles during the strip search

and that McCoy “fondled the Plaintiff’s penis” with a metal-detector wand. Plaintiff

alleges that he felt uncomfortable and admits that he ran from McCoy. Plaintiff

alleges that McCoy pursued Plaintiff, grabbed Plaintiff by the shoulder, and struck

Plaintiff in the side of the head with the metal-detector wand. Plaintiff alleges that

he evaded McCoy’s grip and McCoy was injured during this scuffle.

      Defendants Stephens, Williams, Shelton, McDonald, White, and Roe entered

the bathroom area. McCoy told Defendants Stephens, Williams, Shelton, McDonald,


2
 It is unclear from the record if all ten Defendants were participating in the search
of the delta Dormitory.

                                    Page 3 of 18
       Case 4:18-cv-00371-MJF Document 164 Filed 01/25/22 Page 4 of 18




White, and Roe that Plaintiff had hit McCoy in the face. McCoy instructed

Defendants to take Plaintiff down. Defendants converged on Plaintiff, and Plaintiff

attempted to run towards Warden Holland and Defendant Cooley, who were

standing in the doorway of the bathroom. Stephens, Williams, Shelton, McDonald,

White, McCoy, and Roe forced Plaintiff to the floor and restrained his hands.

      Once Plaintiff was retrained, McCoy allegedly ordered Stephens, Williams,

Shelton, McDonald, White, and Roe to continue beating Plaintiff. Stephens,

Williams, Shelton, McDonald, White, McCoy, and Roe punched Plaintiff in the face

and head, threatened to drown Plaintiff in the toilet, and struck Plaintiff in the head

and face with the metal-detector wand. Plaintiff states that he called for help from

Defendants Holland, Cooley, and Johnson who were watching the incident. But

these Defendants did not intervene. During the beating, Plaintiff lost consciousness.

      After he regained consciousness, Shelton slammed Plaintiff’s face into the

wall approximately seven times. Stephens and Shelton then escorted Plaintiff to the

medical department. During this escort, Shelton allegedly bent and twisted

Plaintiff’s wrist in an attempt to break Plaintiff’s wrist.

B.    Plaintiff’s Medical Records

      After Defendants’ use of force, Plaintiff received post-use-of-force

examinations at both Jefferson C.I. and Union Correctional Institution. Both

examinations revealed abrasions and lacerations on Plaintiff’s back, chest, face, and

                                      Page 4 of 18
       Case 4:18-cv-00371-MJF Document 164 Filed 01/25/22 Page 5 of 18




feet. Doc. 141-3 at 1, 4, 7. Additionally, Plaintiff complained of generalized pain,

including pain in his back and head. Id. at 5. Plaintiff was prescribed over-the-

counter pain medication and was directed to return to sick call if needed. Plaintiff

did not seek additional medical care for the abrasions or lacerations, however.

      Ten days after the use of force, on April 23, 2018, Plaintiff used “sick call” to

complain of severe back pain. Doc. 154-1 at 151, 152-55. Medical staff prescribed

ibuprofen and an analgesic balm. On May 11, 2018, medical personnel produced an

x-ray image of Plaintiff’s spine, which showed no abnormalities. Doc. 141-3 at 9;

Doc. 154-1 at 122. The medical personnel directed Plaintiff to continue with his

activities of daily living. Doc. 157-1 at 9.

       The record reflects that for nearly three months Plaintiff did not seek

additional medical treatment for back pain. Indeed, Plaintiff did not again sign up

for sick call until August 9, 2018. On August 9, 2018, Plaintiff complained of

moderate lower back pain. Over the course of two years, medical staff continued to

treat Plaintiff for chronic lower back pain, which Plaintiff asserted was caused by

the use-of-force incident. Medical staff diagnosed Plaintiff with chronic lower back

pain and noted possible sciatic pain. Doc. 154-1 at 140. To alleviate the pain, medical

staff prescribed Plaintiff over-the-counter medication, naproxen, and prednisone.

Additionally, medical staff recommended stretching and exercise. Id. at 114-55.




                                     Page 5 of 18
       Case 4:18-cv-00371-MJF Document 164 Filed 01/25/22 Page 6 of 18




C.    Plaintiff’s Disciplinary Report

      It is undisputed that after the April 13, 2018 incident, Plaintiff was convicted

of a disciplinary report (“DR”) for “battery or attempted battery of a correctional

officer.” The basis for this DR, as written by Defendant McCoy, is as follows:

      On 4/13/2018 at approximately 11:51am, while in the bathroom area of
      D dormitory of wing 2, I was conducting a strip search of inmate
      Cooper, Gregory DC# T57324 on suspicion of having contraband and
      being unauthorized in the Housing Unit. I instructed inmate Cooper to
      bend and cough which caused a cellular device to fall from his rectum.
      As I attempted to retrieve the cellphone from him, Inmate Cooper, with
      a closed fist suddenly struck me to my head and facial area and
      proceeded to a toilet stall. Inmate Cooper’s attempt to flee was
      disrupted and he was redirected to the ground and placed in restraints.

Doc. 141-1 at 25. The disciplinary panel found Plaintiff guilty of the DR, and

Plaintiff lost thirty days of good-time credit. Id. at 23-24.

                        II. SUMMARY JUDGMENT STANDARD

      Rule 56 of the Federal Rules of Civil Procedure states that a “court shall grant

summary judgment if the movant shows that there is no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ.

P. 56(a). A “genuine” dispute exists “if the evidence is such that a reasonable jury

could return a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc.,

477 U.S. 242, 248 (1986); Hickson Corp. v. N. Crossarm Co., 357 F.3d 1256, 1260

(11th Cir. 2004). An issue of fact is “material” if it could affect the outcome of the




                                     Page 6 of 18
         Case 4:18-cv-00371-MJF Document 164 Filed 01/25/22 Page 7 of 18




case. Anderson, 477 U.S. at 248; Haves v. City of Miami, 52 F.3d 918, 921 (11th Cir.

1995).

      At “the summary judgment stage the judge’s function is not himself to weigh

the evidence and determine the truth of the matter but to determine whether there is

a genuine issue for trial.” Anderson, 477 U.S. at 249. A “scintilla of evidence in

support of the plaintiff’s position will be insufficient; there must be evidence on

which the jury could reasonably find for the plaintiff. The judge’s inquiry . . . asks

whether reasonable jurors could find by a preponderance of the evidence that the

plaintiff is entitled to a verdict . . . .” Id. at 252. In evaluating a summary judgment

motion, all “justifiable inferences” must be resolved in the nonmoving party’s favor

so long as there is a genuine dispute as to those facts. Beard v. Banks, 548 U.S. 521,

529 (2006); see Scott v. Harris, 550 U.S. 372, 380 (2007).

                                  III. DISCUSSION

A.    Summary Judgment for Defendants on the Official-Capacity Claims

      Plaintiff’s second amended complaint does not specify whether Plaintiff is

suing Defendants in their official or individual capacities. But in his response to

Defendants’ motion for partial summary judgment, Plaintiff states that he is asserting

both official- and individual-capacity claims. Doc. 154 at 1 ¶ 5.

      Official-capacity suits are “only another way of pleading an action against an

entity of which an officer is an agent.” Kentucky v. Graham, 473 U.S. 159, 165-66

                                     Page 7 of 18
       Case 4:18-cv-00371-MJF Document 164 Filed 01/25/22 Page 8 of 18




(1985) (quoting Monell v. Dep’t of Soc. Servs., 436 U.S. 658, 690 n.55 (1978)). Thus,

“a claim against a defendant in his official capacity is the same as a claim against

his employer.” Christman v. Saint Lucie Cnty., Fla., 509 F. App’x 878, 879 (11th

Cir. 2013) (citing McMillian v. Monroe Cnty., Ala., 520 U.S. 781, 785 n.2 (1997)).

In other words, a suit against these Defendants in their official capacity is a claim

against the FDC. Notably, the FDC is “a state agency that is clearly the equivalent

of the State of Florida for Eleventh Amendment purposes.” Walden v. Fla. Dep’t of

Corr., 975 F. Supp. 1330, 1331 (N.D. Fla. 1996).

      Generally, the Eleventh Amendment bars suits by an individual against a state,

its agencies, and its employees unless Congress has abrogated the state’s sovereign

immunity, or the state has consented to suit. See Hans v. Louisiana, 134 U.S. 1, 16-

18 (1890); Manders v. Lee, 338 F.3d 1304, 1308 (11th Cir. 2003) (en banc).

Additionally, under Ex parte Young, an individual may sue state officers in their

official capacities for prospective injunctive relief. See Edelman v. Jordan, 415 U.S.

651, 662-63 (1974).

      Congress has not abrogated the states’ sovereign immunity in actions under

section 1983, and the State of Florida has not waived its immunity in section 1983

actions. Will v. Mich. Dep’t of State Police, 491 U.S. 58, 67-68 (1989). Plaintiff did

not request any prospective injunctive relief. Accordingly, Plaintiff’s official-




                                    Page 8 of 18
       Case 4:18-cv-00371-MJF Document 164 Filed 01/25/22 Page 9 of 18




capacity claims are barred, and Defendants are entitled to summary judgment on

these claims.

B.    Summary Judgment for Defendant McCoy on Count One

      In Count One of his second amended complaint, Plaintiff asserts that McCoy

“violated the Eighth Amendment after striking Plaintiff in the face with a weapon

after [McCoy] sexually assaulted Plaintiff.” Doc. 90 at 12. McCoy seeks summary

judgment on this claim because it is barred by Heck v. Humphrey, 512 U.S. 477

(1994), and its progeny. Doc. 141 at 14-19. 3

      In Heck v. Humphrey, the Supreme Court “sought to ‘avoid the problem

inherent in two potentially conflicting resolutions arising out of the same set of

events by foreclosing collateral attacks on convictions through the vehicle of a

§ 1983 suit.” Harrigan v. Metro Dade Police Dep’t Station #4, 977 F.3d 1185, 1192

(11th Cir. 2020). In Heck, the Supreme Court held that a district court must consider

whether a judgment in favor of the plaintiff “would necessarily imply the invalidity

of his conviction” or sentence. 512 U.S. at 487. If so, the complaint “must be




3
  In response to Defendants’ motion for partial summary judgment, Plaintiff argues
that Heck does not bar his claim that Defendants continued to use force after Plaintiff
was fully restrained. Doc. 150 at 23 ¶ 1. Plaintiff’s claim that seven Defendants used
excessive force after Plaintiff’s hands were restrained is found in Count Two. Doc.
90 at 12. Defendants did not move for summary judgment on Count Two or Count
Three based on Heck and its progeny.

                                    Page 9 of 18
      Case 4:18-cv-00371-MJF Document 164 Filed 01/25/22 Page 10 of 18




dismissed unless the plaintiff can demonstrate that the conviction or sentence has

already been invalidated.” Id.

      The Supreme Court extended this holding to claims brought by prisoners

challenging prison disciplinary actions, even when the prisoner does not explicitly

seek to restore his prison gain time or to otherwise shorten his sentence. Edwards v.

Balisok, 520 U.S. 641, 648 (1997). Thus, “[t]he Heck rule, as extended by Edwards

v. Balisok, strips a district court of jurisdiction in a § 1983 suit brought by an

imprisoned plaintiff ‘if a judgment in favor of the plaintiff would necessarily imply

the invalidity’ of a punishment that ‘deprive[d] him of good-time-credits.’” Dixon v.

Hodges, 887 F.3d 1235, 1237 (11th Cir. 2018) (quoting Edwards, 520 U.S. at 643).

But “Heck bars a § 1983 suit only when it is a ‘logical necessity’ that judgment for

the plaintiff in that suit would contradict the existing punishment.” Id. at 1238; see

Muhammad v. Close, 540 U.S. 749, 754-55 (2004) (rejecting the view that Heck

applies to all suits challenging prisoner disciplinary proceedings). In other words,

“[s]o long as there would still exist a construction of the facts that would allow the

underlying [punishment] to stand, a section 1983 suit may proceed.” Dixon, 887 F.3d

at 1238 (citation and quotations omitted); Sconiers v. Lockhart, 946 F.3d 1256, 1269

(11th Cir. 2020).

      Additionally, Heck may bar a prisoner’s suit “if his § 1983 complaint makes

specific factual allegations that are inconsistent with the facts upon which his

                                   Page 10 of 18
       Case 4:18-cv-00371-MJF Document 164 Filed 01/25/22 Page 11 of 18




[punishment was] based.” Dixon, 887 F.3d at 1238 (citing Dyer v. Lee, 488 F.3d

876, 883 n.9 (11th Cir. 2007)). This “gloss on Heck” applies only in a narrow

category of case “where the allegation in the § 1983 complaint is a specific one that

both necessarily implies the earlier decision is invalid and is necessary to the success

of the § 1983 suit itself.” Id. Thus, “when a plaintiff alleges a fact that, if true, would

conflict with the earlier punishment, but that fact is not necessary to the success of

his § 1983 suit, the Heck bar does not apply.” Id.

       A determination of whether a claim is barred by Heck turns on the plaintiff’s

allegations. Here, in Count One of his second amended complaint, Plaintiff alleged

that during the strip search, McCoy “fondled” Plaintiff’s penis with a metal detector

and “made sounds of approval.” Doc. 90 at 7 ¶ 10; id. at 12 (directing the court to

paragraphs 10-12 of his statement of facts). Because Plaintiff felt violated and

uncomfortable, he attempted to run away from Defendant McCoy. Id. at 8 ¶ 11. In

order to stop Plaintiff from fleeing, McCoy grabbed Plaintiff’s shoulder and struck

Plaintiff in the head with the metal detector. Id. at ¶ 12.

       It is undisputed that following McCoy’s use of force in this incident, Plaintiff

was convicted of a DR for “battery or attempted battery on a correctional officer.”

Doc. 141-1 at 23-27; Doc. 154 at 12 ¶ 7. Specifically, the DR stated that while

McCoy was conducting a strip search of Plaintiff, “a cellular device” fell from




                                     Page 11 of 18
       Case 4:18-cv-00371-MJF Document 164 Filed 01/25/22 Page 12 of 18




Plaintiff’s rectum. 4 As McCoy attempted to retrieve the phone from Plaintiff,

Plaintiff used closed fists to hit McCoy in the head and face. Doc. 141 at 27. Plaintiff

then attempted to flee to the toilet area, but Plaintiff’s attempt to flee was “disrupted”

by correctional officers. Id. As a result of this conviction, Plaintiff lost thirty days of

good-time credit. Id. at 23-24.

      Plaintiff’s allegations in Count One that he did not strike McCoy and that

McCoy unprovokedly struck Plaintiff in the face necessarily are at odds with

Plaintiff’s conviction of the DR. Specifically, if a jury were to find in favor of

Plaintiff that McCoy engaged in an unprovoked use of force, this would necessarily

imply the invalidity of the DR and Plaintiff’s loss of gain time. 5 See Thore v. Howe,


4
  During the investigation of the DR, Plaintiff asserted that it was tobacco wrapped
in black tape—not a cell phone—that fell during the strip search. He conceded that
he fled from McCoy and flushed the contraband down the toilet. Doc. 141-1 at 31.
5
  Although Plaintiff does not explicitly raise a claim of sexual assault in violation of
the Eighth Amendment, such a claim would be barred by Heck insofar as it is
inconsistent with his conviction of “battery or attempted battery on an officer.”
Furthermore, Plaintiff has not created a genuine issue of material fact as to whether
a “sexual assault” occurred. “The ‘sexual assault’ of a prisoner by a prison official
in violation of the Eighth Amendment occurs when the prison official, acting under
color of law and without legitimate penological justification, engages in a sexual act
with the prisoner, and that act was for the official’s own sexual gratification, or for
the purpose of humiliating, degrading, or demeaning the prisoner.” DeJesus v. Lewis,
14 F.4th 1182, 1196 (11th Cir. 2021). There are times when “prison officials have a
legitimate penological purpose to touch a prisoner in what may be an invasive
manner, and we also account for the deference owed to prison staff.” Id. at 1197.
The fact that a correctional officer made strange or “sexual” sounds during a strip
search does not convert a search into a sexual assault. Plaintiff also has not created

                                     Page 12 of 18
      Case 4:18-cv-00371-MJF Document 164 Filed 01/25/22 Page 13 of 18




466 F.3d 173, 181 (1st Cir. 2006). It also is undisputed that Plaintiff has not

invalidated or overturned his conviction of this DR. Doc. 154 at 12 ¶ 7. McCoy,

therefore, is entitled to summary judgment on Plaintiff’s claim that McCoy “violated

the Eighth Amendment after striking Plaintiff in the face with a weapon after

[McCoy] sexually assaulted Plaintiff.”

C.    Defendant’s Argument That Plaintiff Suffered Only De Minimis Injury

      Defendants also seek summary judgment on Plaintiff’s claims to the extent

that Plaintiff seeks compensatory damages. They argue that Plaintiff’s injuries are

de minimis and therefore do not qualify for such relief. 6

      The Prisoner Litigation Reform Act of 1995, Pub. L. No. 104–134, 110 Stat.

1321 (1996) (“PLRA”), was enacted in “an effort to stem the flood of prisoner

lawsuits in federal court.” Harris v. Garner, 216 F.3d 970, 972 (11th Cir. 2000) (en

banc). The PLRA states in part: “No Federal civil action may be brought by a


a genuine issue regarding whether McCoy had a legitimate penological purpose to
strip search Plaintiff. Indeed, Plaintiff concedes that he had contraband secreted in
his rectum, namely tobacco. Doc. 141-1 at 31. In Florida prisons, tobacco is
contraband. See Fla. Admin. R. 33-401.401(6).
6
  Plaintiff argues that under Hudson v. McMillian, to state an Eighth-Amendment
claim, he was not required to allege that he suffered a serious injury. Doc. 154 at 25
¶¶ 7-13. Although this generally is an accurate summary of the law as to the elements
of an Eighth-Amendment excessive-force claim, the PLRA bars compensatory
damages for emotional and mental damages unless a Plaintiff establishes that he
suffered a physical injury that is more than de minimis. Pierre v. Padgett, 808 F.
App’x 838, 844 (11th Cir. 2020).

                                    Page 13 of 18
      Case 4:18-cv-00371-MJF Document 164 Filed 01/25/22 Page 14 of 18




prisoner confined in a jail, prison, or other correctional facility, for mental or

emotional injury suffered while in custody without a prior showing of physical injury

or the commission of a sexual act (as defined in section 2246 of Title 18).” 42 U.S.C.

§ 1997e(e). This provision does not preclude an award of compensatory or punitive

damages in all cases in which a physical injury is lacking. Hoever v. Marks, 993 F.3d

1353, 1356 (11th Cir. 2021). Rather, section 1997e(e) precludes claims for damages

“brought ‘for mental or emotional injury . . . without a prior showing of physical

injury.’” Id. at 1358 (quoting 42 U.S.C. § 1997e(e)). Thus, “the text of § 1997e(e)

bars only requests for compensatory damages stemming from purely mental or

emotional harms.” Id.

      The federal courts have not achieved a consensus as to any test to determine

when a physical injury is greater than de minimis. Thompson v. Smith, 805 F. App’x

893, 904 (11th Cir. 2020). But injuries that “attest to a routine discomfort associated

with confinement” generally will be de minimis. Id. (first discussing Alexander v.

Tippah Cnty., 351 F.3d 626, 631 (5th Cir. 2003); then discussing Harris v. Garner,

190 F.3d 1279, 1287 (11th Cir. 1999)).

      The only issue remaining before this court is whether Plaintiff’s chronic back

pain, as alleged by Plaintiff, is more than a de minimis injury.7 It is undisputed that


7
 Plaintiff also suffered lacerations, abrasions, and bruises on his back, chest, face,
and feet. Plaintiff states that he also had pain in his hand. Plaintiff never sought

                                    Page 14 of 18
      Case 4:18-cv-00371-MJF Document 164 Filed 01/25/22 Page 15 of 18




during both post-use-of-force examinations, medical staff indicated that Plaintiff had

abrasions to his back. Doc. 141-3 at 1, 3-5; Doc. 154-1. Additionally, Plaintiff

complained of pain in his back. Doc. 141-3 at 5.

      On April 23, 2018—ten days after the alleged use of excessive force—

Plaintiff used sick call to complain of severe back pain. Doc. 154-1 at 151, 152-55.

His complaints caused medical providers to obtain x-ray images of Plaintiff’s spine,

which indicated no abnormalities. Doc. 141-3 at 9; Doc. 154-1 at 122. Medical

personnel prescribed over-the-counter medication and directed Plaintiff to continue

his activities of daily living that were not affected by the back pain.

      Plaintiff did not seek additional treatment for back pain until August 2018.

Plaintiff then repeatedly continued to seek treatment for his back pain, which he

attributed to the excessive-use-of-force incident. In December 2018, medical staff

diagnosed Plaintiff with chronic lower back pain, noting probable sciatic pain. Doc.

154-1 at 140. Plaintiff continued to seek treatment through at least January 2021. Id.




additional treatment for the laceration, abrasions, and bruises, and, after Defendants’
use of force, Plaintiff sought treatment for his hand only one time. At that
examination on April 23, 2018, Plaintiff did not complain of any pain, and there was
no swelling or physical abnormalities. Doc. 154-1 at 149. Without further evidence
to the contrary, these injuries are properly characterized as “de minimis.” Tate v.
Rockford, 497 F. App’x 921, 925 (11th Cir. 2012) (holding that a laceration on an
inmate’s forehead, several small abrasions and cuts, and a swollen right eye were de
minimis injuries especially because there was no evidence of broken bones,
additional injuries, or permanent pain).

                                    Page 15 of 18
      Case 4:18-cv-00371-MJF Document 164 Filed 01/25/22 Page 16 of 18




at 125. To treat the pain, medical personnel prescribed naproxen, prednisone,

Flexeril, and over-the-counter medication. 8 Id. at 114-55.

      The evidence, viewed in its entirety, is sufficient for a reasonable jury to find

that Plaintiff’s alleged chronic back pain is not a “routine discomfort” generally

associated with confinement. Benoit v. Bordelon, 596 F. App’x 264, 269 (5th Cir.

2015) (holding that the district court did not clearly err in finding that back pain,

“which persisted at least a year, was more than de minimis”); see generally Harris

v. Chapman, 97 F.3d 499, 506 (11th Cir. 1996) (noting that the plaintiff’s allegations

that the use of force exacerbated his back injuries and the medical record

corroborating the allegations was sufficient to constitute evidence of “more than a

‘de minimis’ injury”).

      Defendants argue that Plaintiff’s back injury was de minimis because

Plaintiff’s x-ray images showed no physical abnormalities and Plaintiff did not seek

medical treatment until he initiated this action. This indicates, Defendants argue, that

Plaintiff was attempting to create medical evidence in anticipation of this litigation.

Doc. 157 at 4. Plaintiff, however, provided evidence that he complained of back pain

during the post-use-of-force examination and for at least two or three weeks



8
  Naproxen is a nonsteroidal anti-inflammatory drug similar to ibuprofen used to
treat inflammation and pain in the body. Doc. 157-1 at 3 ¶ 14. Prednisone is a
corticosteroid used to treat inflammation in the body. Id.

                                    Page 16 of 18
      Case 4:18-cv-00371-MJF Document 164 Filed 01/25/22 Page 17 of 18




thereafter. For purposes of Defendant’s motion for partial summary judgment, this

court must accept Plaintiff’s version of events. Additionally, medical staff suggested

it was sciatic pain. Doc. 154-1 at 140.

      Because Plaintiff has created a triable issue that his chronic lower back pain

amounts to greater than de minimis physical injury, this court must deny Defendants’

motion for partial summary judgment on this issue. See Spears v. Jordan, No. 3:19-

CV-1072-BJD-JBT, 2021 WL 3471697, at *5 (M.D. Fla. Aug. 6, 2021) (denying

summary judgment because the plaintiff sought treatment from medical providers

on at least four occasions to address his multiple injuries, and the doctor ordered two

x-rays); Watson v. Edelen, 76 F. Supp. 3d 1332, 1378 (N.D. Fla. 2015) (denying

summary judgment when plaintiff stated in his verified declaration that for several

months plaintiff “suffered numbness in his right hand, left knee, and both feet” and

“syncope episodes, for which he apparently is still being treated”); Goodwin v.

Hatten, No. 1:07-cv-00123-MP-AK, 2010 WL 750290, at *5 (N.D. Fla. Mar. 1,

2010) (denying summary judgment on an excessive-force claim when plaintiff’s

medical records corroborated plaintiff’s allegations of injury.

                                  IV. CONCLUSION

      1.     Defendants’ motion for partial summary judgment is GRANTED IN

PART and DENIED IN PART.




                                    Page 17 of 18
       Case 4:18-cv-00371-MJF Document 164 Filed 01/25/22 Page 18 of 18




       2.   Defendants are entitled to summary judgment on Plaintiff’s official-

capacity claims and as to Count One of Plaintiff’s second amended complaint.

       3.   As to damages, Defendants’ motion for partial summary judgment is

DENIED to the extent Plaintiff has created a genuine issue regarding the magnitude

of his injuries and can recover compensatory damages for emotional and mental

injuries.

       SO ORDERED this 25th day of January, 2022.

                                       /s/ Michael J. Frank
                                       Michael J. Frank
                                       United States Magistrate Judge




                                  Page 18 of 18
